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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ALLISON E. MATNEY                               §      Case Number: 4:22-cv-00409
     Plaintiff,                                 §
                                                §
vs.                                             §
                                                §
GATEWAY MORTGAGE GROUP                          §
    Defendant.                                  §
                                                §

                AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

TO THE HONORABLE DISTRICT COURT JUDGE:

The parties pursuant to Fed. R. Civ. Pro. 41(a)(2) hereby stipulate as follows and respectfully

request this Court’s entry of the proposed Order of Dismissal filed herewith:

       1. Plaintiff filed her Original Petition, Application for Injunctive Relief and Request

       for Disclosures as cause no. 2021-83709 in the 160th Judicial Court of Harris County,

       Texas on December 29, 2021.

       2. Defendant filed its Original Answer and Request for Disclosures in cause no. 2021-

       83709 in the 160th Judicial Court of Harris County, Texas on January 28, 2022.

       3. Defendant filed its Notice of Removal to this Court on February 8, 2022.

       4. On March 9, 2022, Defendant filed with this Court its Amended Motion to Dismiss

       pursuant to Fed. R. Civ. Pro. 12(b)(6). The Rule 12(b)(6) motion is unopposed.

       5. Accordingly, the parties request that the Court dismiss this lawsuit with prejudice

       against filing same in the future.

       WHEREFORE, PREMISES CONSIDERED, the Plaintiff and Defendant hereby request



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that this Court enter the attached Order dismissing the above-entitled and numbered cause with

prejudice.

Date: March 23, 2022

                                            Respectfully submitted,

                                            By: VILT AND ASSOCIATES – TX, P.C.
                                            /s/ Robert C. Vilt
                                            ROBERT C. VILT
                                            State Bar No. 00788586
                                            S.D. No.: 20296
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                                            Attorneys for Plaintiff

                                            By: MICHAEL J. SCHROEDER, P.C.
                                            /s/Michael J. Schroeder
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                                            S.D. No.: 9267
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                                            Telephone: 972-394-3086
                                            Facsimile: 972-394-1263
                                            Attorneys For Defendant




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                               CERTIFICATE OF CONFERENCE

I hereby certify that a conference was held on the merits of this motion on March 22, 2022 with

Michael J. Schroeder and he has agreed to the relief sought herein.

                                             /s/ Robert C. Vilt
                                             ROBERT C. VILT

                                  CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Agreed Stipulation of Dismissal
With Prejudice been served on all parties and/or counsel of record in accordance with the
FEDERAL RULES OF CIVIL PROCEDURE on this 23rd day of March, 2022 as indicated
below:

Via E-Filing
Michael J. Schroeder
Michael J. Schroeder, P.C.
3610 North Josey Lane, Suite 206
Carrolton, TX 75007
Counsel for Defendant

                                             /s/ Robert C. Vilt
                                             ROBERT C. VILT




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